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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     DANA SCOTT MCINTIRE
 6
 7               IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )              CR-NO. S-06-0253-JAM
10                                  )
          PLAINTIFF,                )
11                                  )              STIPULATION AND ORDER
          v.                        )              TO MODIFY THE BRIEFING
12                                  )              SCHEDULE AND HEARING DATE
                                    )
13   DANA SCOTT MCINTIRE, et. al., )
                                    )
14                                  )
          DEFENDANTS.               )
15                                  )
     ______________________________)
16
17         Plaintiff United States of America, by its counsel, Assistant United States
18   Attorney, Mr. Jason Hitt and defendant Dana Scott McIntire, by his attorney, Mr.
19   James R. Greiner, hereby stipulate and agree that the current motion schedule and
20   hearing date can be modified and the new schedule can be adopted by the Court as
21   follows:
22         Government to file any opposition on or before Tuesday, February 1, 2011;
23         Defense to file any reply on or before Tuesday, February 15, 2011;
24         Hearing on Tuesday, March 8, 2011, at 9:30 a.m., in courtroom #6 on the 14th
25   floor before the Honorable District Court Judge John A. Mendez.
26         The Court’s courtroom deputy, Mr, Harry Vine, has been contacted to ensure
27
28                                             1
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 1   the Court’s calendar was available for hearing the motion on Tuesday, March 8, 2011,
 2
     and the Court is available.
 3
 4         It is so stipulated and agreed.
 5
                                      BENJAMIN B. WAGNER
 6                                    UNITED STATES ATTORNEY
 7
                                      /s/ Jason Hitt -by e mail authorization
 8   DATED: 11-9-10                   _____________________________________
 9                                    Jason Hitt
                                      ASSISTANT UNITED STATES ATTORNEY
10
                                      ATTORNEY FOR THE PLAINTIFF
11
12
     DATED: 11-9-10                   /s/ James R. Greiner
                                      _______________________________________
13                                    James R. Greiner
14                                    Attorney for Defendant Dana McIntire
15
16                                           ORDER
17
18         FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
19
     DATED: November 10, 2010.
20
21
22
23
                               /s/ John A. Mendez
24
                               JOHN A. MENDEZ
25                             UNITED STATES
26                             DISTRICT COURT JUDGE
27
28                                             2
